Case 2:08-cr-00010-EFS   ECF No. 571   filed 05/06/14   PageID.2957 Page 1 of 5
Case 2:08-cr-00010-EFS   ECF No. 571   filed 05/06/14   PageID.2958 Page 2 of 5
Case 2:08-cr-00010-EFS   ECF No. 571   filed 05/06/14   PageID.2959 Page 3 of 5
Case 2:08-cr-00010-EFS   ECF No. 571   filed 05/06/14   PageID.2960 Page 4 of 5
Case 2:08-cr-00010-EFS   ECF No. 571   filed 05/06/14   PageID.2961 Page 5 of 5
